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 Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

     WILLIAM GRUBB,                               Case No: 1:20-cv-00553-AMD-RML

          Plaintiff,
                                                  NOTICE OF VOLUNTARY DISMISSAL
          v.                                      PURSUANT TO FED. R. CIV. P.
                                                  41(a)(1)(A)(i)
     WRIGHT MEDICAL GROUP N.V.,
     GARY D. BLACKFORD, JOHN L.
     MICLOT, ROBERT J. PALMISANO,
     DAVID D. STEVENS, ELIZABETH H.
     WEATHERMAN, J. PATRICK
     MACKIN, KEVIN C. O’BOYLE, AMY
     S. PAUL, and RICHARD F.
     WALLMAN

          Defendants.


        PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

 Civil Procedure, Plaintiff William Grubb hereby voluntarily dismisses the above-captioned

 action. Defendants have not served an answer or a motion for summary judgment.

 Dated: September 22, 2020                        Respectfully submitted,

                                                  HALPER SADEH LLP

                                                  By: /s/ Daniel Sadeh
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                                 CERTIFICATE OF SERVICE

         I, Daniel Sadeh, hereby certify that on September 22, 2020, a true and correct copy of the
 annexed NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
 41(a)(1)(A)(i) was served in accordance with the Federal Rules of Civil Procedure with the Clerk
 of the Court using the CM/ECF system, which will send a notification of such filing to all parties
 with an email address of record who have appeared and consented to electronic service in this
 action.


 Dated: September 22, 2020                           /s/ Daniel Sadeh
                                                     Daniel Sadeh




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